       Case 2:07-cr-00571-GEB Document 373 Filed 01/08/15 Page 1 of 3


     HEATHER E. WILLIAMS, Bar #122664
1    Federal Defender
     DAVID M. PORTER, Bar #127024
2    Assistant Federal Defender
     Counsel Designated for Service
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
6    Attorneys for Defendant
     AID LUANGRATH, JR.
7
8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. F 07-571 GEB
12
                               Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
13                                                       TO REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     AID LUANGRATH, JR.,                                 RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable GARLAND E. BURRELL, Jr.

17             Defendant, AID LUANGRATH, JR., by and through his attorney, Assistant Federal
18   Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
19   counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On January 16, 2009, this Court sentenced Mr. Luangrath to a term of 102 months

25   imprisonment;

26             3.         His total offense level was 31, his criminal history category was I, and the

27   resulting guideline range was 108 to 135 months;

28

     Stipulation and Order Re: Sentence Reduction           1
       Case 2:07-cr-00571-GEB Document 373 Filed 01/08/15 Page 2 of 3



1              4.         On government motion, Mr. Luangrath received a downward departure from the
2    low end of the guideline range to receive a term of 102 months;
3              5.         The sentencing range applicable to Mr. Luangrath was subsequently lowered by
4    the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
5    2014, see 79 Fed. Reg. 44,973;
6              6.         Mr. Luangrath’s total offense level has been reduced from 31 to 29, his amended
7    guideline range is 87-108 months, and a reduction to a comparable point below the amended
8    range would produce a term of 79 months; and,
9              7.         Accordingly, the parties request the Court enter the order lodged herewith
10   reducing Mr. Luangrath’s term of imprisonment to a total term of 79 months.
11   Respectfully submitted,
12   Dated: January 6, 2015                             Dated: January 6, 2015
13
     BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
14   United States Attorney                             Federal Defender

15
      /s/ Jason Hitt                                    /s/ David M. Porter
16   JASON HITT                                         DAVID M. PORTER
     Assistant U.S. Attorney                            Assistant Federal Defender
17
     Attorney for Plaintiff                             Attorney for Defendant
18   UNITED STATES OF AMERICA                           AID LUANGRATH, JR.

19
                                                       ORDER
20
               This matter came before the Court on the stipulated motion of the defendant for reduction
21
     of sentence pursuant to 18 U.S.C. § 3582(c)(2).
22
               The parties agree, and the Court finds, that Mr. Luangrath is entitled to the benefit
23
     Amendment 782, which reduces the total offense level from 31 to 29, resulting in an amended
24
     guideline range of 87-108 months.
25
               IT IS HEREBY ORDERED that the term of imprisonment imposed on January 16, 2009
26
     is reduced to a term of 79 months.
27
28

     Stipulation and Order Re: Sentence Reduction          2
       Case 2:07-cr-00571-GEB Document 373 Filed 01/08/15 Page 3 of 3



1              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
2    remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
3    reduction in sentence, and shall serve certified copies of the amended judgment on the United
4    States Bureau of Prisons and the United States Probation Office.
5              Unless otherwise ordered, Mr. Luangrath shall report to the United States Probation
6    Office within seventy-two hours after his release.
7    Dated: January 7, 2015
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Stipulation and Order Re: Sentence Reduction      3
